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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                                                                                OV   0 4 2024

MARK ANTHONY ORTEGA                                                       CLERK, U S DISTRICT   ou:
                                                                          WErERNDfOT
                             Plaintiff,
                                                                    Case No. 5:24-cv-00769-XR


CARLOS HERRERA AND FUNDCUBE INC.
D/B/A FUNDQUBE,

                             Defendants.


              PLAINTIFF'S MOTION FOR CLERK'S ENTRY OF DEFAULT

       Plaintiff, Mark Anthony Ortega ("Plaintiff"), requests that the Clerk of Court enter default

against Defendant Carlos Herrera ("Herrera"), pursuant to Federal Rule of Civil Procedure 55(a).

In support of this request, Plaintiff states the following:

                                             SUMMARY

                The proof of service (ECF No. 8) demonstrates that Herrera was properly served

with a copy of PlaintifFs Original Complaint (ECF No. 1) in this case on September 25, 2024.

        2.      More than twenty-one (21) days have elapsed since the date of service of process,

and Herrera has failed to answer, challenge, or otherwise defend as required by Federal Rule of

Civil Procedure 12(a)(1)(A) and as demonstrated by the record in this action and by the Declaration

of Mark Anthony Ortega filed concurrently with his motion.

                                          BACKGROUND

                On July 22, 2024, Plaintiff filed his First Amended Complaint (ECF No. 4)

against Herrera in this suit seeking monetary relief for violations of the Telephone Consumer
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Protection Act ("TCPA"), 47 U.S.C. § 227 et seq., and the Texas Business and commercial

code, chapter 302.

       4.       Plaintiff properly served EL Realty with the complaint and Summons on

September 25, 2024 (ECF No. 8).

        5.      Herrera has not appeared in this action.

                              ARGUMENTS AND AUTHORITIES

        6.      The clerk of Court must enter a default against a party who has not filed a

responsive pleading or otherwise defended the suit. Fed. R. Civ. P. 55(a); see N.Y Life Ins. Co. v.

Brown, 84 F.3d 137, 141 (5th Cir. 1996).

        7.      The Clerk should enter a default against Herrera because he did not file a

responsive pleading within 21 days of service. Fed. R. Civ. P. 12(a)(1)(A)(i); Fed. R. Civ. P. 6(d);

see Fed. R. Civ. P. 55(a).


        8.      The Clerk should enter a default against Herrera because he did not otherwise

defend the suit. Fed. R. Civ. P. 5 5(a).

        9.      Because Herrera did not file a responsive pleading or otherwise defend the suit, it

is not entitled to notice of entry of default. See Fed. R. Civ. P. 5(a)(2); New York Lfe Ins. Co. v.

Brown, 84 F.3d 137, 141-42 (5th Cir. 1996).

        10.     Plaintiff is therefore, entitled to entry of default against Herrera because he has

failed to file an answer to the Original Complaint or any other responsive pleadings. This entry

of default is authorized by Rule 55 of the Federal Rules of Civil Procedure.

                                              PRAYER

        For the foregoing reasons, Plaintiffs respectfully request the Clerk of Court to enter a

default against Defendant Herrera in this matter.




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Dated: October 30, 2024                   Respectfully submitted,

                                          Mark Anthony Ortega
                                          Plaintiff, Pro Se


                                          By:   / '         (I
                                          mortegautexas.edu
                                          P0 Box 702099
                                          San Antonio, TX 78270
                                          Telephone: (210) 744-9663
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                                 CERTIFICATE OF SERVICE

Thereby certify that on October 30, 2024, I mailed the foregoing via first class mail for traditionally
filing with the clerk of court for the U.S. District Court, Western District of Texas, and served a
true and correct copy of this document on the parties and/or attorneys of record via first class mail
to Defendant at the following address:

Carlos Herrera
1207 131h St,
Imperial Beach, CA 91932



                                                         ark Anthony Ortega




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA

                             Plaintiff,

              V.

                                                                   Case No. 5:24-cv-00769-XR
CARLOS HERRERA AND FUNDCUBE INC.
D/B!A FUNDQUBE,

                             Defendants.



           DECLARATION IN SUPPORT OF CLERK'S ENTRY OF DEFAULT

       I hereby certify that I, Mark Anthony Ortega, am the Plaintiff in the above cause, and that

defendant Carlos Herrera was served on September 25, 2024 as evidenced by the Proof of Service.

(ECF No. 8)

       I further certify that the defendant has failed to serve an answer or other responsive

pleading; the defendant is neither an infant (under age 21) nor an incompetent person; the

defendant is not in the active military service of the United States of America or its officers or

agents or was not six months prior to the filing of the case. Therefore, the Clerk is requested to

enter a default against said defendant.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
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Date: October 30, 2024

                                          Mark Anthony Ortega
                                          Plaintiff ro Se


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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA

                            Plaintiff,

                                                                    Case No. 5:24-cv-00769-XR

CARLOS HERRERA AND FUNDCUBE INC.
D/B/A FUNDQUB B,

                            Defendants.


                               CLERK'S ENTRY OF DEFAULT

       The Plaintiff, Mark Anthony Ortega, having filed a Complaint (ECF No. 1) on July 11,

2024, as well his First Amended Complaint (ECF No. 4) on July 22, 2024 and the Defendant,

Carlos Herrera having failed to plead or otherwise defend as required by the Federal Rules of Civil

Procedure, and the time for responding having expired;

       IT IS ORDERED, that the Clerk enter the default of the Defendant, Carlos Herrera.



                                                     By:
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